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                        UNITED STATES BANKRUPTCY COURT
                         NORTHERN DISTRICT OF GEORGIA
                                ATLANTA DIVISION


                                        )                CHAPTER 7
IN RE:                                  )
                                        )                CASE NO. 17-64177-PMB
MICHAEL F. ANTONELLI and                )
NOREEN A. ANTONELLI,                    )
                                        )
       Debtors.                         )
                                        )
                                        )
NEIL C. GORDON, Chapter 7 Trustee for )
the Estates of Michael F. Antonelli and )
Noreen A. Antonelli,                    )
                                        )
       Plaintiff,                       )
v.                                      )                CONTESTED MATTER
                                        )
PNC BANK, N.A. f/k/a                    )
RBC CENTURA BANK,                       )
WELLS FARGO BANK, N.A.,                 )
CHATHAM PARK COMMUNITY                  )
ASSOCIATION, INC.,                      )
FULTON COUNTY TAX COMMISSIONER, )
MICHAEL F. ANTONELLI and                )
NOREEN A. ANTONELLI,                    )
                                        )
       Respondents.                     )
                                        )

                                  NOTICE OF HEARING

        NOTICE IS HEREBY GIVEN, pursuant to Fed. R. Bankr. P. 2002(a)(2), 6004(a),
6004(c), and 9014 that Neil C. Gordon, Chapter 7 Trustee (“Trustee”) for the bankruptcy
estates (the “Bankruptcy Estate”) of Michael F. Antonelli and Noreen A. Antonelli
(together “Debtors”), has filed Trustee’s Motion for (I) Authority to (A) Sell Property of the
Bankruptcy Estate Free and Clear of Liens, Interests, and Encumbrances, and (B) Disburse
Certain Proceeds at Closing, and (II) Approval of Surcharge under 11 U.S.C. Section 506 (c)


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(the “Sale Motion”) proposing to sell (the “Sale”) that certain real property commonly
known as 3020 Lancaster Square, Roswell, Fulton County, Georgia 30076 (the
“Property”), pursuant to 11 U.S.C. §§ 363(b) and (f) to Mihnea Ion Nastase and Karen
Davis Nastase (together, the “Purchasers”), “as is, where is,” for a sale price of
$1,100,000.00 (the “Purchase Price”), subject to Bankruptcy Court approval (the
“Contract”). A true and correct copy of the Contract is attached and marked as Exhibit
“A” to the Sale Motion, and incorporated herein by reference.
        Trustee moves for authority to have all gross sale proceeds paid to him at closing
and for authority to have those items paid at closing as specifically described in the Sale
Motion. All other distributions will be pursuant to further order of the Court.
        PLEASE TAKE FURTHER NOTICE that the Court will hold a hearing on the
Sale Motion in Courtroom 1202 Richard B. Russell Federal Building, 75 Ted Turner
Drive, S.W., Atlanta, Georgia 30303, at 2:00 p.m. on July 30, 2018.
        The Sale Motion is available for review in the Clerk's Office, United States
Bankruptcy      Court,     during      normal    business     hours     or    online     at
http://ecf.ganb.uscourts.gov (registered users) or at http://pacer.psc.uscourts.gov
(unregistered users).
        The proposed sale of the Property is one not in the ordinary course of business,
as provided by 11 U.S.C. § 363(b). Trustee seeks to sell the Property free and clear of all
liens, claims, and interests as provided by 11 U.S.C. § 363(f).        Trustee moves for
authority to have paid at closing those liens and costs specifically set forth in the Sale
Motion. All valid, perfected, and unavoidable liens that Trustee does not propose to
pay at closing shall attach to the Sale proceeds with the same validity, extent, and
priority that they had in the Property.
        The proposed Contract includes a Purchase Price of $1,100,000.00 is the highest
and best offer that Trustee has received, is subject no contingencies whatsoever, and
represents an appropriate selling price for the Property. Trustee invites any and all
competing cash offers to be submitted which exceed the present Contract by at least
$15,000.00, supported by earnest money of at least two percent (2%) of the bid price,


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with no contingencies, and the ability to close within ten (10) days.
         Your rights may be affected by the Court’s ruling on the Sale Motion. You should
read the Sale Motion carefully and discuss it with your attorney, if you have one in this
bankruptcy case. (If you do not have an attorney, you may wish to consult one.). If you
do not want the Court to grant the relief sought in the Sale Motion or if you want the
Court to consider your views, then you and/or your attorney must attend the hearing.
You may also file a written response to the Sale Motion with the Clerk at the address
stated below, but you are not required to do so. If you file a written response, you must
attach a certificate stating when, how and on whom (including addresses) you served
the response. Mail or deliver your response so that it is received by the Clerk at least
two (2) business days before the hearing. The address of the Clerk’s Office is: Clerk, U.S.
Bankruptcy Court, Suite 1340, 75 Ted Turner Drive, S.W., Atlanta, Georgia 30303. You
must also mail a copy of your response to counsel for Trustee at the address stated
below.


Dated: July 3, 2018                       ARNALL GOLDEN GREGORY, LLP
                                          Attorneys for Trustee

                                          By: /s/ Neil C. Gordon
                                              Neil C. Gordon
                                              Georgia Bar No. 302387
                                              neil.gordon@agg.com

                                          171 17th Street, NW, Suite 2100
                                          Atlanta, Georgia 30363-1031
                                          Tele: (404) 873-8500
                                          Fax: (404) 873-8501




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                                      Certificate Service

        This is to certify that I, Neil C. Gordon, am over the age of 18 and that, I served a
copy of the forgoing Notice of Hearing by depositing in the United States mail a copy of
same in a properly addressed envelope with adequate postage affixed thereon to assure
delivery by first class United States Mail to the following persons at the addresses stated:


Via First Class Mail:
Office of the United States Trustee               Arthur E. Ferdinand
362 Richard B. Russell Bldg.                      Fulton County Tax Commissioner
75 Ted Turner Drive, SW                           141 Pryor Street
Atlanta, Georgia 30303                            Atlanta, GA 30303

Wells Fargo Bank, N.A.                            Jonathan A. Akins
C/o Ciro A. Mestres                               Schreeder, Wheeler & Flint, LLP
Aldridge Pite, LLP                                Suite 800,
Fifteen Piedmont Center                           1100 Peachtree Street, NE
3475 Piedmont Road, N.E., Suite 500               Atlanta, GA 30309
Atlanta, GA 30305
                                                  Michael F. Antonelli
Chatham Park Community Association,               10 Crestmont Road, Apartment 5R
Inc. c/o Heritage Property Management             Montclair, NJ 07042
Services, Inc.
500 Sugar Mill Road                               Noreen A. Antonelli
Building B, Suite 200                             10 Crestmont Road, Apartment 5R
Atlanta, GA 30350                                 Montclair, NJ 07042

                                                  Michael Campbell
                                                  ATTENTION: Denise Hammock
                                                  Campbell & Brannon, LLC
                                                  5565 Glenridge Connector
                                                  Suite 350
                                                  Atlanta, Georgia 30342




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Via First Class Mail and Certified Mail:

William S. Demchak, President/CEO               Timothy J. Sloan, President and CEO
PNC Bank, N.A.                                  Wells Fargo Bank, N.A.
222 Delaware Avenue                             420 Montgomery Street, 12th Floor
Wilmington, DE 19899                            San Francisco, CA 94163

William S. Demchak, President/CEO               Timothy J. Sloan, President and CEO
PNC Bank, N.A.                                  Wells Fargo Bank, N.A.
The Tower at PNC Plaza                          101 N. Phillips Avenue
300 Fifth Avenue                                Sioux Falls, SD 57104
Pittsburgh, PA 152222


      This is to certify further that I, Neil C. Gordon, have this day served copies of the
foregoing Notice of Hearing by first class United States mail on all those entities set
forth on the attached Exhibit “A” at the addresses stated.


      This 3nd day of July, 2018.
                                                /s/ Neil C. Gordon
                                                Neil C. Gordon
                                                Georgia Bar No. 302387




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                         EXHIBIT “A” FOLLOWS




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                                           Parker Poe Adams & Bernstein LLP of 10 Lewis Brisbois Bisgaard & Smith LLP
Case 17-64177-pmb                           1180 Peachtree Street, Suite 1800           6385 S, Rainbow Blvd., Suit 600
Northern District of Georgia                Atlanta, GA 30309-7512                      Las Vegas, NV 89118-3201
Atlanta
Mon Jul 2 14:39:47 EDT 2018
Jonathan A Akins                            American Express                            American Express Bank, FSB
Schreeder, Wheeler & Flint, LLP             PO Box 9001108                              c/o Becket and Lee LLP
Suite 800                                   Louisville, KY 40290-1108                   PO Box 3001
1100 Peachtree Street NE                                                                Malvern PA 19355-0701
Atlanta, GA 30309-4516

American Express Centurion Bank             Michael F. Antonelli                        Noreen A Antonelli
c/o Becket and Lee LLP                      10 Crestmont Rd Apt 5R                      10 Crestmont Rd Apt 5R
PO Box 3001                                 Montclair, NJ 07042-1936                    Montclair, NJ 07042-1936
Malvern, PA 19355-0701


Ariel Bouskila/ABF Servicing                Arnall Golden Gregory, LLP                  Atlanta National Golf Club
40 Exchange Pl                              171 17th Street NW                          Canongate Golf Club
New York, NY 10005-2701                     Suite 2100                                  924 Shaw Rd.
                                            Atlanta, GA 30363-1031                      Sharpsburg GA 30277-1617


Atlanta National Golf Club                  Atlanta National LLC                        BB&T Insurance Services, Inc.
PO Box 580024                               13510 Providence Lake Dr                    1887 Highway 20 SE Ste 200
Charlotte, NC 28258-0024                    Milton, GA 30004-7501                       Conyers, GA 30013-2047



Bank Of America, N.A.                       Bank of America Corporation                 BellSouth
PO BOX 31785                                CT Corporation System                       289 S Culver St
Tampa, FL 33631-3785                        289 S Culver St                             Lawrenceville, GA 30046-4805
                                            Lawrenceville, GA 30046-4805


(p)BB AND T                                 Branch Banking & Trust Company              Branch Banking and Trust Company
PO BOX 1847                                 Reg. Agent: CT Corporation System           c/o A. Todd Sprinkle
WILSON NC 27894-1847                        289 S Culver St                             1180 Peachtree Street, Suite 1800
                                            Lawrenceville, GA 30046-4805                Atlanta, GA 30309-7512


C2C Resources, LLC                          CHASE                                       CIT Direct Capital
3500 N Causeway Blvd Ste 300                PO Box 15123                                155 Commerce Way
Metairie, LA 70002-3502                     Wilmington, DE 19850-5123                   Portsmouth, NH 03801-3243



Centralized Insolvency Operation            Charter Communications/ Spectrum            Chatham Park Community Association, Inc.
PO Box 7346                                 Corporation Service Company                 c/o Heritage Property Management
Philadelphia, PA 19101-7346                 40 Technology Pkwy S Ste 300                500 Sugar Mill Rd Bldg B
                                            Norcross, GA 30092-2924                     Atlanta, GA 30350-2865


John A. Christy                             Cincinnati Insurance                        Citi
Schreeder, Wheeler & Flint, LLP             Bernie Kistler                              PO Box 6077
1100 Peachtree Street                       3740 Davinci Ct Ste 460                     Sioux Falls, SD 57117-6077
Suite 800                                   Peachtree Corners, GA 30092-7614
Atlanta, GA 30309-4516
Citigroup, Inc.Case 17-64177-pmb       Doc 47
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                                           38 Hill St Ste 130     Page 8 of 10        5591 Chamblee Dunwoody Road
111 8th Ave                                  Roswell, GA 30075-4537                       Building 1300, Suite 100
New York, NY 10011-5201                                                                   Atlanta, GA 30338-4176


David Antonelli                              Department Stores National Bank              Direct Capital a Division Of CIT Bank, N.A.
110 Horatio St Apt 517                       c/o Quantum3 Group LLC                       155 Commerce Way
New York, NY 10014-1579                      PO Box 657                                   Portsmouth NH 03801-3243
                                             Kirkland, WA 98083-0657


Discover                                     Discover Bank                                Dr. W. Thomas Reed
PO Box 71084                                 Discover Products Inc                        755 Mount Vernon Hwy NE Ste 500
Charlotte, NC 28272-1084                     PO Box 3025                                  Atlanta, GA 30328-4280
                                             New Albany, OH 43054-3025


Emory/St. Josephs                            Emory/St. Josephs, Inc.                      Extremity Healthcare
PO Box 660827                                C/O Emory Healthcare, Inc., WHSCAB,          900 Circle 75 Pkwy SE Ste 900
Dallas, TX 75266-0827                        1440 Clifton Rd NE Rm 400                    Atlanta, GA 30339-3084
                                             Atlanta, GA 30322-1053


First Pro                                    Forward Financing                            Fox Capital
1302 Fenner Ct                               36 Bromfield St Fl 2                         140 Broadway Fl 46
Franklin, TN 37067-8537                      Boston, MA 02108-5221                        New York, NY 10005-1155



Fulton County Board of Tax Assessors         Fulton County Finance Dept.                  Fulton County Tax Commissioner
235 Peachtree St NE Ste 1400                 141 Pryor St SW Ste 7001                     141 Pryor St SW
Atlanta, GA 30303-1402                       Atlanta, GA 30303-3468                       Atlanta, GA 30303-3446



Fulton County Tax Commissioner               Georgia Natural Gas                          Georgia Natural Gas
141 Pryor St Suite 1113                      P.O. Box 105445                              PO Box 440667
Atlanta, GA 30303-3566                       Atlanta, Ga. 30348-5445                      Kennesaw, GA 30160-9533



Georgia Natural Gas Company                  Georgia Power                                Neil C Gordon
10 Peachtree Pl NE                           241 Ralph McGill Blvd NE # B-10180           Arnall, Golden & Gregory, LLP
Atlanta, GA 30309-4497                       Atlanta, GA 30308-3374                       Suite 2100
                                                                                          171 17th Street, NW
                                                                                          Atlanta, GA 30363-1031

Neil C. Gordon                               HOP Capital                                  Hoover Funding
Arnall Golden Gregory LLP                    1022 Avenue M                                57 W 38th St Rm 402
Suite 2100                                   Brooklyn, NY 11230-4712                      New York, NY 10018-1921
171 17th Street, NW                          Internal Revenue Service 11230-4712
Atlanta, GA 30363-1031

Hoover Funding, LLC                          IPIPELINE                                    JONES & KOLB
C/o Adam J. Pernsteiner                      222 Valley Creek Blvd Ste 300                3475 Piedmont Rd NE Ste 1500
Lewis Brisbois Bisgaard & Smith LLP          Exton, PA 19341-2385                         Atlanta, GA 30305-2913
6385 S. Rainbow Blvd., Suite 600
Las Vegas, NV 89118-3201
JP Morgan ChaseCase
                & Co. 17-64177-pmb       Doc 47    Filed
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                                             National Registered Agents   9 of 10         30 Broad St Ste 1201
289 S Culver St                               289 S Culver St                             New York, NY 10004-2902
Lawrenceville, GA 30046-4805                  Lawrenceville, GA 30046-4805


Lendio Loan                                   Lexus Financial Services                    MCA Recovery LLC
10235 S Jordan Gtwy Ste 410                   PO Box 4102                                 17 State St Ste 4000
South Jordan, UT 84095-4188                   Carol Stream, IL 60197-4102                 New York, NY 10004-1508



Ciro A. Mestres                               NORTHERN ARC EXECUTIVE SERVICES INC.        Navient
Aldridge Pite, LLP                            c/o Mohammad Hoque                          PO Box 9533
Suite 500 - Fifteen Piedmont Center           2655 Kingsbrooke Ln                         Wilkes Barre, PA 18773-9533
3575 Piedmont Road, NE                        Duluth, GA 30097-7392
Atlanta, GA 30305-1636

Navient Solutions, LLC                        Neiman Marcus                               North DeKalb Electric, Inc.
220 Lasley Ave                                PO Box 85619                                3810 Beya Way
Wilkes-Barre, PA 18706-1430                   Richmond, VA 23285-5619                     Atlanta, GA 30340-4525



Northwest Exterminators                       Office of the United States Trustee         PNC Bank, N.A.
830 Kennesaw Ave NW                           362 Richard Russell Building                Corporation Service Company
Marietta, GA 30060-1006                       75 Ted Turner Drive, SW                     40 Technology Pkwy S Ste 300
                                              Atlanta, GA 30303-3315                      Norcross, GA 30092-2924


Public Storage                                Reliable Fast Cash / Business Capital LL    Robert Tommy Brigman
530 S Main St                                 262A Albany Ave.                            571 Ledford Rd
Alpharetta, GA 30009-1920                     Brooklyn, NY 11213                          Dillard, GA 30537-1759



Saks 5th Avenue                               Chad R. Simon                               Allen Todd Sprinkle
PO Box 5224                                   Buckley Madole P.C.                         Parker Poe
Carol Stream, IL 60197-5224                   P. O. Box 80727                             1180 Peachtree Street NE
                                              Atlanta, GA 30366-0727                      Ste 3300
                                                                                          Atlanta, GA 30309-7540

Stonebridge Accounting & Forensics LLC        TVT Capital                                 Toyota Motor Credit Corporation
Spence A. Shumway, CPA                        30 Wall St Ste 801                          c/o Becket and Lee LLP
P.O. Box 1290                                 New York, NY 10005-2201                     PO Box 3001
Grayson, GA 30017-0025                                                                    Malvern PA 19355-0701


U. S. Attorney                                Unique Funding Solutions                    VERIZON WIRELESS
600 Richard B. Russell Bldg.                  1672 E 22nd St Apt 5A                       CT Corporation System
75 Ted Turner Drive, SW                       Brooklyn, NY 11229-1544                     289 S Culver St
Atlanta GA 30303-3315                                                                     Lawrenceville, GA 30046-4805


Vadim Barbarovich                             Wells Fargo                                 Wells Fargo
Marshall, City of New York                    PO Box 10335                                PO Box 77053
1517 Voorhies Ave Ste 3R                      Des Moines, IA 50306-0335                   Minneapolis, MN 55480-7753
Brooklyn, NY 11235-3970
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Wells Fargo Bank, N.A. 17-64177-pmb          Doc 47
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Corporation Service Company                          Document           Page
                                                 Wells Fargo Card Services   10 of 10       50 Vanderbilt Ave
40 Technology Pkwy S Ste 300                         PO Box 10438, MAC F8235-02F                          New York, NY 10017-3878
Norcross, GA 30092-2924                              Des Moines, IA 50306-0438


Yellowstone Captial                                  Zachter PLLC
30 Broad St Fl 14                                    30 Wall St Fl 8
New York, NY 10004-2906                              New York, NY 10005-2205




                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


Branch Banking & Trust Company
Bankruptcy Section 100-50-01-51
P.O. Box 1847, 100-50-01-51
Wilson, NC 27894-1847




                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(d)American Express Centurion Bank                   (u)BRANCH BANKING & TRUST COMPANY (BB&T)             (d)Neil C. Gordon
c/o Becket and Lee LLP                                                                                    Arnall, Golden & Gregory, LLP
PO Box 3001                                                                                               Suite 2100
Malvern PA 19355-0701                                                                                     171 17th Street, NW
                                                                                                          Atlanta, GA 30363-1031

(u)Toyota Motor Credit Corporation                   (u)Wells Fargo Bank, N.A.                            End of Label Matrix
                                                                                                          Mailable recipients    94
                                                                                                          Bypassed recipients     5
                                                                                                          Total                  99
